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      9J   19�; 5 I </rJ
Telephone


                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ALASKA


 S "'- 11 >11.(- , c '-r,J r odf!i-r> Pl,\rJ , Ii fJ, z..�,> fl81 ,tvfJ, 11$
        (Enrlr full name of plaintiff in this a{tion)                              3:19-cv-00236-SLG
                                                                         Case No. ----------
                                         Plaintiff,                                      (To be supplied by Coun)
vs.

                                                                                COMPLAINT UNDER
                                                                               THE CIVIL RIGHTS ACT
                                                                                  42 u.s.c. § 1983
                         I                         •

                                                                                 (NON-PRISONERS)
      (Enter full names of defendant(s) in this action.
                     Do NOT use et al.)

                                         Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:



8. Parties

1. Plaintiff: This complaint alleges that the civil rights of                   5 �"-r,..,,," /J «·SJ
                                                                                     (print your name)

who presently resides at                fo/Jo-f.-. � {/ /cv Si (6i A-('-        ii' lp
                                                                     (mailihg address)

were violated by the actions of the individual(s) named below.




              Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 1 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 2 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 3 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 4 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 5 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 6 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 7 of 8
Case 3:19-cv-00236-SLG Document 1 Filed 08/29/19 Page 8 of 8
